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  14                                    UNITED STATES DISTRICT COURT
  15                                  CENTRAL DISTRICT OF CALIFORNIA
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  17    JOHN DOE #1, et al.                                     Case No. 5:22-cv-00855
  18
                                  Plaintiffs,
  19                                                     [PROPOSED] ORDER ON MOTION FOR
               v.                                            PRELIMINARY INJUNCTION
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        U.S. DEPARTMENT OF JUSTICE, et al.,
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  22                              Defendants.
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   1            The Court having considered Plaintiffs’ motion for a preliminary injunction, and the
   2   response of Defendants, the Court finds that Plaintiffs have demonstrated the required factors
   3   for a preliminary injunction. Plaintiffs have shown a likelihood of success on the merits. First,
   4   the rule is likely unconstitutional in three ways: (1) It is an exercise of an unconstitutional
   5   delegation of lawmaking authority; (2) It unlawfully limits protected speech in violation of the
   6   First Amendment; and (3) It violates due process by presuming Plaintiffs’ guilt of a federal
   7   crime. Second, and separately, the rule likely conflicts with the startutory text in 34 U.S.C. §
   8   20911(1) because it defines the word “conviction” to improperly encompass expunged
   9   convictions. Plaintiffs have shown a likelihood that they will suffer irreparable harm in the
  10   absence of preliminary relief because they are suffering ongoing constitutional harms,
  11   including First Amendment harms, from the rule. Plaintiffs also face intangible and
  12   unrecoverable economic injuries by being commanded, under pain of criminal punishment,
  13   with complying with a likely invalid registration rule. The balance of equities tips in Plaintiffs’
  14   favor and the injunction is in the public interest because the injunction protects constitutional
  15   rights and merely stops implementation of a likely invalid rule. The Court preliminarily enjoins
  16   Defendants from enforcing the rule, Registration Requirements Under the Sex Offender
  17   Registration and Notification Act, 86 Fed. Reg. 69,856 (Dec. 8, 2021), until further order of the
  18   court.
  19            IT IS SO ORDERED.
  20            DATED: October 19, 2022
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                                                    JESUS G. BERNAL
  22                                                UNITED STATES DISTRICT JUDGE
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